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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

 UNITED STATES OF AMERICA,                )
                                          )
           Plaintiff,                     )                 Case No. 4:24-cv-00646
                                          )
           v.                             )
                                          )
 ROYCE E. MITCHELL;                       )
 SUSAN A. MITCHELL;                       )
 A.I.M. CONTROLS, LLC;                    )
 STEVE CROES, Trustee for AIM Group Trust )
 and RESAM Holdings Trust; and            )
 ANN HARRIS BENNETT, Harris County Tax )
 Assessor-Collector,                      )
                                          )
           Defendants.                    )
 ______________________________________ )

                                           COMPLAINT

       The United States of America, pursuant to 26 U.S.C. §§ 7401–7403, at the direction of a

delegate of the Attorney General of the United States, and with the authorization and sanction of

a delegate of the Secretary of the Treasury, brings this civil action seeking (1) judgments against

Royce E. Mitchell and Susan A. Mitchell (together, “the Mitchells”) for certain assessed but,

unpaid federal tax liabilities; (2) a judicial determination that Defendant, A.I.M. Controls, LLC is

an Alter Ego of the Mitchells that is liable for the Mitchells’ federal tax liabilities at issue in this

suit; and (3) a judicial determination that Defendant, A.I.M. Controls, LLC, is holding certain real

property as the Mitchells’ Nominee and that the United States is entitled to enforce its federal tax

liens against such real property to satisfy the Mitchells’ unpaid federal tax liabilities. In support of

its Complaint, the United States alleges as follows:




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                                 JURISDICTION, VENUE, AND PARTIES

        1.      This Court has jurisdiction over this matter pursuant to 26 U.S.C. §§ 7402(a) and

7403, and 28 U.S.C. §§ 1331, 1340, and 1345.

        2.      Venue is proper pursuant to 28 U.S.C. §§ 1391(b) and 1396 because the Defendants

reside and conduct business in this district, the tax liabilities at issue arose with respect to activities

in this district, and the real property at issue is located in this district.

        3.      Plaintiff is the United States of America.

        4.      Defendants, Royce E. Mitchell and Susan A. Mitchell, are married and reside

together in Brazoria County, Texas, within this Court’s jurisdiction.

        5.      Defendant, A.I.M. Controls, LLC, is a limited liability company registered under

the laws of the State of Texas with its principal address in Harris County, Texas, within this Court’s

jurisdiction. A.I.M. Controls, LLC may be served through its Registered Agent, Royce E. Mitchell.

        6.      Defendant, Steve Croes, in his capacity as the Trustee for the AIM Group Trust and

the RESAM Holdings Trust (which are both members of A.I.M. Controls, LLC), is joined as a

party pursuant to 26 U.S.C. § 7403(b) because he may claim an interest in the real property against

which the United States is seeking to enforce its liens. Mr. Croes resides in and may be served in

Harris County, Texas, within this Court’s jurisdiction.

        7.      Defendant, Ann Harris Bennett, in her official capacity as the Harris County, Texas

Tax Assessor-Collector, is joined as a party pursuant to 26 U.S.C. § 7403(b) because she may

claim an interest in ad valorem taxes due and owing on the real property against which the United

States is seeking to enforce its liens. Ms. Bennett may be served at her place of business in Harris

County, Texas, within this Court’s jurisdiction.




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                                  COUNT 1
JUDGMENT AGAINST ROYCE E. MITCHELL FOR INDIVIDUAL INCOME TAX LIABILITIES

         8.    On the following dates, a delegate of the Secretary of the Treasury assessed against

Defendant, Royce E. Mitchell, the following individual federal income taxes and penalties

(collectively, the “Royce Income Tax Liabilities”), which have balances due with accruals and

costs as of February 15, 2024, as follows:

   Tax         Assessment                Assessment Type                  Amount     Balance Due
  Period          Date                                                    Assessed    02/15/2024
 2001         04/08/2013      Tax                                         $18,551.00   $71,119.77
              04/08/2013      Fraudulent Failure to File Penalty          $13,449.48
              04/08/2013      Late Payment Penalty                         $4,637.75
              04/08/2013      Estimated Tax Underpayment Penalty             $741.35
 2003         06/08/2015      Tax                                         $11,730.00   $48,606.04
              06/08/2015      Fraudulent Failure to File Penalty           $8,787.50
              09/07/2015      Late Payment Penalty                           $175.95
              11/04/2019      Late Payment Penalty                         $2,445.05
 2004         06/08/2015      Tax                                         $16,403.00   $73,185.48
              06/08/2015      Fraudulent Failure to File Penalty          $12,302.25
              08/31/2015      Late Payment Penalty                           $246.04
              11/04/2019      Late Payment Penalty                         $3,854.70
 2005         06/08/2015      Tax                                         $16,995.00   $72,130.55
              06/08/2015      Fraudulent Failure to File Penalty          $12,746.25
              08/31/2015      Late Payment Penalty                           $254.92
              11/04/2019      Late Payment Penalty                         $3,993.82
 2006         06/08/2015      Tax                                          $5,143.00   $20,311.76
              06/08/2015      Fraudulent Failure to File Penalty           $3,857.25
              08/31/2015      Late Payment Penalty                            $77.14
              11/04/2019      Late Payment Penalty                         $1,208.60
 Total                                                                                $285,353.60

         9.    A delegate of the Secretary of the Treasury gave notice and demand for payment of

the Royce Income Tax Liabilities to Defendant, Royce E. Mitchell. Despite such notice and

demand for payment, Defendant, Royce E. Mitchell, has to date failed, neglected, or refused to

pay the Royce Income Tax Liabilities.


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       10.      After the application of statutory interest, penalties, fees, other additions,

abatements, payments, and credits, the Royce Income Tax Liabilities had a $285,353.60 unpaid

balance due of as of February 15, 2024.

       11.      26 U.S.C. § 6502(a) provides that the statute of limitations for collection of federal

tax assessments expires 10 years after the date of assessment unless some tolling event occurs to

extend the standard 10-year period. See 26 U.S.C. §§ 6502(a), 6503(a)(1). This action is brought

within the standard 10-year statute of limitations for collection of all the assessments described

above, except for those assessments for tax year 2001.

       12.      Though the Internal Revenue Service assessed the tax year 2001 Royce Income Tax

Liabilities more than 10 years ago, as discussed further below, Defendant, Royce E. Mitchell, has

caused the statute of limitations for collection of such assessments to be tolled by at least 1,488

days, making May 5, 2027, the earliest expiration date of such statute of limitations.

       13.      Under 26 U.S.C. § 6503(a)(1), the statute of limitations for collection is suspended

for any period during with the Internal Revenue Service cannot collect the tax by levy or

proceeding in court, plus 60 days afterward. See 26 U.S.C. § 6503(a)(1). Examples of periods

during which the Internal Revenue Service is prohibited from pursuing a levy or other collection

activity include, among other things:

             a. Any time during which a collections due process (“CDP”) hearing requested by a

                taxpayer with respect to the liability is pending (see 26 U.S.C. § 6330(e)(1));

             b. Any time during which a taxpayer’s Offer in Compromise (“OIC”) with respect to

                the liability is pending before the Internal Revenue Service, plus (if rejected) 30

                days after the Internal Revenue Service’s rejection of such Offer in Compromise

                (see 26 U.S.C. § 6331(k)(1)); and



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              c. Any time during which a taxpayer’s request for an installment agreement (“IA”)

                 with respect to the liability is pending before the Internal Revenue Service (see 26

                 U.S.C. § 6331(k)(2)(A)).

        14.      As described in the below chart, each of the above examples applied to prevent the

Internal Revenue from collecting the tax year 2001 Royce Income Tax Liabilities during the

periods listed, thereby tolling the statute of limitations for collection of such liabilities by the

number of days listed:

         Beginning Date      Ending Date     Event                     Days tolled
         08-06-2014          01-12-2015      CDP Hearing Pending       159
         06-26-2015          01-18-2018      OIC Pending               937 plus 30 (967)
         02-10-2020          02-06-2021      IA Pending                362
         Total                                                         1,488 days

        15.      Accordingly, because the statute of limitations for collection of the tax year 2001

Royce Income Tax Liabilities was tolled by at least 1488 days, this action to collect such liabilities

is timely.

        16.      Pursuant to 26 U.S.C. § 7402, the United States is entitled to a judgment

determining that Defendant, Royce E. Mitchell, is liable to the United States for the Royce Income

Tax Liabilities described above in the aggregate amount of $285,353.60 as of February 15, 2024,

for federal income tax assessments arising out of tax years 2001, 2003, 2004, 2005, and 2006, plus

statutory additions, and prejudgment and post judgment interest at the rates set forth in 26 U.S.C.

§§ 6601 and 6621, and 28 U.S.C. § 1961(c), until paid.

                                    COUNT 2
     JUDGMENT AGAINST SUSAN A. MITCHELL FOR INDIVIDUAL INCOME TAX LIABILITIES

        17.      On the following dates, a delegate of the Secretary of the Treasury assessed against

Defendant, Susan A. Mitchell, the following individual federal income taxes and penalties




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(collectively, the “Susan Income Tax Liabilities”), which have balances due with accruals and

costs as of February 15, 2024, as follows:

   Tax          Assessment                Assessment Type                 Amount     Balance Due
  Period           Date                                                   Assessed    02/15/2024
 2003          06/08/2015     Tax                                         $11,730.00   $54,950.95
               06/08/2015     Fraudulent Failure to File Penalty           $8,797.50
               07/27/2015     Late Payment Penalty                            $58.65
               11/09/2015     Late Payment Penalty                           $234.60
               11/18/2019     Late Payment Penalty                         $2,639.25
 2004          06/08/2015     Tax                                         $16,403.00   $74,007.24
               06/08/2015     Fraudulent Failure to File Penalty          $12,302.25
               07/27/2015     Late Payment Penalty                            $82.01
               11/09/2015     Late Payment Penalty                           $328.06
               11/18/2019     Late Payment Penalty                         $3,690.68
 2005          06/08/2015     Tax                                         $16,995.00   $72,160.79
               06/08/2015     Fraudulent Failure to File Penalty          $12,746.25
               07/27/2015     Late Payment Penalty                            $84.97
               11/09/2015     Late Payment Penalty                           $339.90
               11/18/2019     Late Payment Penalty                         $3,823.88
 2006          06/08/2015     Tax                                          $5,143.00   $20,320.86
               06/08/2015     Fraudulent Failure to File Penalty           $3,857.25
               07/27/2015     Late Payment Penalty                            $25.71
               11/09/2015     Late Payment Penalty                           $102.86
               11/18/2019     Late Payment Penalty                         $1,157.18
 Total                                                                                $221,439.84

         18.    A delegate of the Secretary of the Treasury gave notice and demand for payment of

the Susan Income Tax Liabilities to Defendant, Susan A. Mitchell. Despite such notice and demand

for payment, Defendant, Susan A. Mitchell, has failed, neglected, or refused to fully pay the Susan

Income Tax Liabilities.

         19.    After the application of statutory interest, penalties, fees, other additions,

abatements, payments, and credits, the Susan Income Tax Liabilities had a $221,439.84 unpaid

balance due of as of February 15, 2024.



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         20.    This action has been commenced within the applicable statute of limitations, 26

U.S.C. § 6502, because the standard 10-year period for collection on the earliest assessment—on

June 8, 2015—of the Susan Income Tax Liabilities has not yet expired.

         21.    Pursuant to 26 U.S.C. § 7402, the United States is entitled to a judgment

determining that Defendant, Susan A. Mitchell, is liable to the United States for the Susan Income

Tax Liabilities described above in the aggregate amount of $221,439.84 as of February 15, 2024,

plus statutory additions, and prejudgment and post judgment interest thereon at the rates set forth

in 26 U.S.C. §§ 6601 and 6621, and 28 U.S.C. § 1961(c), until paid.

                                     COUNT 3
           JUDGMENT AGAINST THE MITCHELLS FOR JOINT INCOME TAX LIABILITIES

         22.    On the following dates, a delegate of the Secretary of the Treasury assessed jointly

against Defendants, Royce E. Mitchell and Susan A. Mitchell, the following federal income taxes

and penalties (collectively, the “Joint Income Tax Liabilities”), which have balances due with

accruals and costs as of February 15, 2024, as follows:

   Tax          Assessment                Assessment Type                  Amount     Balance Due
  Period           Date                                                    Assessed    02/15/2024
 2007          02/24/2014      Tax                                         $20,238.00   $50,574.47
               02/24/2014      Estimated Tax Underpayment Penalty             $921.08
               02/24/2014      Late Filing Penalty                          $4,553.55
               02/24/2014      Late Payment Penalty                         $5,059.50
 2008          03/03/2014      Tax                                         $12,099.00   $32,062.94
               03/03/2014      Estimated Tax Underpayment Penalty             $237.36
               03/03/2014      Late Filing Penalty                          $2,722.27
               03/03/2014      Late Payment Penalty                         $3,024.75
 2009          03/10/2014      Tax                                         $16,780.00   $42,903.75
               03/10/2014      Estimated Tax Underpayment Penalty             $321.87
               03/10/2014      Late Filing Penalty                          $3,775.50
               03/10/2014      Late Payment Penalty                         $3,943.30
               11/04/2019      Late Payment Penalty                           $251.70
 Total                                                                                 $125,541.16


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       23.     A delegate of the Secretary of the Treasury gave notice and demand for payment of

the Joint Income Tax Liabilities to the Mitchells. Despite such notice and demand for payment,

the Mitchells have failed, neglected, or refused to fully pay the Joint Income Tax Liabilities.

       24.     After the application of statutory interest, penalties, fees, other additions,

abatements, payments, and credits, the Joint Income Tax Liabilities had a $125,541.16 unpaid

balance due of as of February 15, 2024.

       25.     This action has been commenced within the applicable statute of limitations, 26

U.S.C. § 6502, because the standard 10-year period for collection on the earliest assessment—on

February 24, 2014—of the Joint Income Tax Liabilities has not yet expired.

       26.     Pursuant to 26 U.S.C. § 7402, the United States is entitled to a judgment

determining that Defendants, Royce E. Mitchell and Susan A. Mitchell, are jointly and severally

liable to the United States for the Joint Income Tax Liabilities described above in the aggregate

amount of $125,541.16 as of February 15, 2024, plus statutory additions, and prejudgment and

post judgment interest thereon at the rates set forth in 26 U.S.C. §§ 6601 and 6621, and 28 U.S.C.

§ 1961(c), until paid.

                                         COUNT 4
                                  ALTER EGO DETERMINATION

       27.     In September 1997, the Mitchells purchased through the internet a bogus trust

package promoted by Innovative Financial Consultants (“IFC”). IFC falsely claimed that its

customers could lawfully avoid income taxes by placing their income and assets into trust

packages, all while retaining use, control, and dominion over those assets. See Press Release,

Department of Justice, Promoter of Sham Trusts Pleads Guilty to Tax Fraud Charges in Ariz. (June

7, 2004), https://www.justice.gov/archive/opa/pr/2004/June/04_ tax_394.htm.




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        28.     As part of the package purchased from IFC, the Mitchells established two

irrevocable common law trusts: AIM Group and RESAM Holdings. The AIM Group Trust

purported to be for the benefit of Defendant, Royce E. Mitchell’s children. The RESAM Holdings

Trust purported to be for the benefit of Defendant, Susan A. Mitchell’s children.

        29.     The Mitchells appointed their friend, Steve Croes as Trustee for the AIM Group

Trust and their friend, Clifford Williams as Trustee for the RESAM Holdings Trust. After Clifford

Williams’s death, Steve Croes was appointed as Trustee for the RESAM Holdings Trust.

Defendant, Steve Croes, remains the Trustee for both the AIM Group and the RESAM Holdings

Trusts, as of the date of this filing.

        30.     In January 1998, Defendants, Royce E. Mitchell and Susan A. Mitchell, in their

respective capacities as “Managing Directors” of the AIM Group and the RESAM Holdings

Trusts, formed A.I.M. Controls, LLC, naming the AIM Group and the RESAM Holdings Trusts

as the sole two members/owners.

        31.     A.I.M. Controls, LLC is separate from the Mitchells in name only. In reality, they

are one and the same. The Mitchells do not conduct any ascertainable business through A.I.M.

Controls, LLC. Instead, they use A.I.M. Controls, LLC as a personal piggybank, living through

the entity to shelter their personal assets from collection.

        32.     Several times through the years, the Mitchells have written checks to themselves

out of A.I.M. Controls, LLC’s operating account, made sham loans to A.I.M. Controls, LLC that

had no repayment structure and charged zero interest, paid personal expenses using A.I.M.

Controls, LLC’s business bank accounts and credit cards, used business assets (including, business

vehicles) solely for personal use, and listed business assets as their own, personal assets on loan

applications.



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       33.     Pursuant to 26 U.S.C. § 7402(a) and common law, an alter ego of a debtor may be

held liable for debts owed by the debtor, and the alter ego’s assets may be reached to satisfy those

debts. See, e.g., Zahra Spiritual Trust v. United States, 910 F.2d 240, 244–45 (5th Cir. 1990). It is

well-settled that property held by a taxpayer’s alter ego may be subjected to a federal tax lien or

levy. See, e.g., G.M. Leasing Corp v. United States, 429 U.S. 338, 350–51 (1977). “The alter-ego

doctrine focuses on the relationship between a debtor and an entity. If a debtor uses a corporation

as an instrumentality to avoid legal obligations, the corporation's assets may be levied to satisfy

the debtor's obligations.” United States v. L & L Int’l, Inc., No. H-17-923, 2020 U.S. Dist. LEXIS

5034, at *5 (S.D. Tex. Jan. 13, 2020).

       34.     The Mitchells have enjoyed the benefits of A.I.M. Controls, LLC’s separate legal

status without respecting the required corporate formalities to maintain such separate legal status.

They exercise complete dominion and control over A.I.M. Controls, LLC and have used that

control to live through A.I.M. Controls, LLC. For example, the Mitchells have regularly written

checks to themselves out of A.I.M. Controls, LLC’s bank accounts, paid their personal and

household expenses with A.I.M. Controls, LLC’s bank accounts and business credit cards, and

purchased and registered vehicles through A.I.M. Controls, LLC that they intended to (and did)

use solely as personal vehicles.

       35.     The Mitchells have diverted to A.I.M. Controls, LLC property—including, the

properties against which the United States seeks to enforce its federal tax liens in this suit—that

they wished to protect from their creditors, while retaining the benefits of true ownership of such

property.

       36.     Accordingly, the United States seeks a judgment determining that Defendant,

A.I.M. Controls, LLC, is an Alter Ego of Defendants, Royce E. Mitchell and Susan A. Mitchell,



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and holding that Defendant, A.I.M. Controls, LLC, is liable for the debts owed to the United States

by the Mitchells.

                                  COUNT 5
   ENFORCE FEDERAL TAX LIENS AGAINST 3916 ANDERSON ROAD, Houston, Texas 77053

       37.     Pursuant to 26 U.S.C. §§ 6321 and 6322, as a result of the neglect, refusal, or failure

by the Mitchells to pay the tax liabilities described above after notice and demand, federal tax liens

arose on the dates of the assessments and attached to all the property and rights to the property

belonging to Defendants, Royce E. Mitchell and Susan A. Mitchell, and their Alter Ego Entity,

Defendant, A.I.M. Controls, LLC.

       38.     On August 15, 2019, in accordance with 26 U.S.C. § 6323(f), the Internal Revenue

Service publicly filed with the County Clerk of Harris County, Texas, Notices of Federal Tax Lien

against Royce E. Mitchell, Individually for the Royce Income Tax Liabilities for tax years 2001,

2003, 2004, 2005, and 2006 (the “Royce NFTL”) and against Susan A. Mitchell, Individually for

the Susan Income Tax Liabilities for tax years 2003, 2004, 2005, and 2006 (the “Susan NFTL”).

       39.     Also on August 15, 2019, in accordance with 26 U.S.C. § 6323(f), the Internal

Revenue Service publicly filed with the County Clerk of Harris County, Texas, a Notice of Federal

Tax Lien against the Mitchells jointly for the Joint Income Tax Liabilities for tax years 2007, 2008,

and 2009 (the “Joint NFTL”).

       40.     On June 10, 2020, after determining that A.I.M. Controls, LLC was a sham entity

that lacked economic substance and that the Mitchells formed and used only for the purpose of tax

avoidance, the Internal Revenue Service publicly filed, in accordance with 26 U.S.C. § 6323(f),

three separate Notices of Federal Tax Lien against A.I.M. Controls, LLC, as Alter Ego of the

Mitchells, with respect to the taxes and tax periods noted in the Royce Notice of Federal Tax Lien,

Susan Notice of Federal Tax Lien, and Joint Notice of Federal Tax Lien, respectively.

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       41.    The first piece of real property against which the United States seeks to enforce its

federal tax liens is located at 3916 Anderson Road, Houston, Texas, 77053, and consists of 10,941

square feet of land, along with all the improvements, buildings, and appurtenances thereon, with

the legal description TR 5B, GARDEN PLACE TO ALMEDA (“3916 Anderson”). 3916

Anderson is more fully described in the county deed records as:

       A FIELDNOTE DESCRIPTION of a tract of land located in Harris County, Texas,
       situated in the N. B. Waters Survey, Abstract No. 872, being out of Lot 4, of Garden
       Place Addition to Almeda as recorded in Volume 78, Page 628 of the said County
       Deed Records, and said tract being more particularly described by metes and
       bounds as follows:

       COMMENCING at a 5/8-inch iron rod found on the intersection of the North right-
       of-way line of Anderson Road (60-foot R.O.W.) and the West right-of-line of
       Bathurst Drive;

       THENCE, North 89 deg. 58 min. 25 sec. West, along said North line, a distance of
       175.00 feet to a ½-inch iron rod with cap found for the POINT OF BEGINNING
       of the herein described tract of land;

       THENCE, North 89 deg. 58 min. 25 sec. West, along said North line, a distance of
       100.00 feet a 5/8-inch iron rod found for corner;

       THENCE, North 00 deg. 01 min. 35 sec. East, along the East line of that certain
       tract recorded under Clerks File No. E-282709 of the said County Real Property
       Records, a distance of 109.41 feet to a 1/2-inch iron rod with cap set for corner on
       the South line of Block 10 of Wildheather, Section 2 as recorded in Volume 96,
       Page 48 of the said Map Records;

       THENCE, South 89 deg. 58 min. 25 sec. East, along said South line, a distance of
       100.00 feet to a 1/2-inch iron rod with cap set for corner;

       THENCE, South 00 deg. 01 min. 35 sec. East, along the West line of that certain
       tract recorded under Clerks File No. G-657652 of said Property Records, a distance
       of 109.41 feet to the POINT OF BEGINNING and containing 0.251 acres of land
       more or less.

       Subject to: All covenants, conditions, easements and restrictions of record.

       Deed Reference: Being the property conveyed to A.I.M. Controls, LLC, by
       correction warranty deed of Royce Mitchell, TR, and Susan Mitchell, TR, dated
       June 15, 2017, and recorded with the Harris County Clerk at file number and film
       code RP-2017-276779, on June 21, 2017.
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       42.      On January 27, 2004, the Mitchells executed a Special Warranty Deed to purchase

3916 Anderson Road, Houston, Texas, 77053. The Special Warranty Deed listed the Mitchells as

the Grantees.

       43.      Not until over thirteen years later, after the Internal Revenue Service made the

income taxes assessments alleged above, did the Mitchells execute a “Correction Warranty Deed,”

on June 15, 2017, that redefined the Grantee as A.I.M. Controls, LLC. The Correction Warranty

Deed was recorded in the County Deed Records on June 21, 2017, effectively shifting nominal

ownership of 3916 Anderson Road, Houston, Texas, 77053 from the Mitchells to A.I.M. Controls,

LLC.

       44.      3916 Anderson Road, Houston, Texas, 77053 is one of the pieces of real property

that the Mitchells have diverted to their Alter Ego Entity, Defendant, A.I.M. Controls, LLC, to

attempt to shield such property from collection by their creditors. The United States is entitled to

enforce its federal tax liens against property held by the Mitchells’ Alter Ego Entity—Defendant,

A.I.M. Controls, LLC—to satisfy the tax liabilities at issue in this suit.

       45.      Additionally, the United States is entitled to collect liabilities of a taxpayer against

property held in the name of such taxpayer’s Nominee. See, e.g., Oxford Cap. Corp. v. United

States, 211 F.3d 280, 284 (5th Cir. 2000). Though 3916 Anderson Road, Houston, Texas, 77053

is titled in the name of A.I.M. Controls, LLC, the Mitchells are the true owners, and A.I.M.

Controls, LLC merely holds 3916 Anderson Road, Houston, Texas, 77053 as the Mitchells’

Nominee.

       46.      The nominee doctrine focuses on the relationship between a debtor and certain

property, with the ultimate inquiry being whether the taxpayer has engaged in a legal fiction by




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placing legal title to property in the hands of a third party while retaining some or all the benefits

of true ownership. Factors indicating a nominee situation include:

       (a) No consideration or inadequate consideration paid by the nominee; (b) Property
       placed in the name of the nominee in anticipation of a suit or occurrence of
       liabilities while the transferor continues to exercise control over the property; (c)
       Close relationship between transferor and the nominee; (d) Failure to record
       conveyance; (e) Retention of possession by the transferor; and (f) Continued
       enjoyment by the transferor of benefits of the transferred property.

       Id. at 284 n.1.

       47.     Many of the above factors are present here. Defendant, A.I.M. Controls, LLC, paid

no consideration in exchange for its receipt of 3916 Anderson Road, Houston, Texas 77053 from

the Mitchells by a supposed “Correction Warranty Deed” over thirteen years after the Mitchells

originally acquired the property. The Mitchells transferred 3916 Anderson Road, Houston, Texas

77053 to Defendant, A.I.M. Controls, LLC, shortly after many of the assessments at issue in this

suit were made and shortly after the Internal Revenue Se began instituting collection proceedings

with respect to such assessments. The Mitchells and Defendant, A.I.M. Controls, LLC, are closely

related in that the Mitchells established and are “Managing Directors” of the Trusts that own

A.I.M. Controls, LLC. Finally, the Mitchells have retained possession and continued enjoyment

of 3916 Anderson Road, Houston, Texas 77053 by continually—as discussed above—exercising

authority over A.I.M. Controls, LLC. Indeed, the Mitchells have admitted as much by claiming to

own 3916 Anderson Road, Houston, Texas, 77053 as a personal asset on various credit

applications, including, a Home Equity Refinance Loan Application submitted to Frost Bank on

or around May 1, 2013.

       48.     Pursuant to 26 U.S.C. § 7403, the United States is entitled to enforce, by foreclosure

sale or other court orders, the federal tax liens described above against 3916 Anderson Road,

Houston, Texas 77053, held by the Mitchells’ Alter Ego and Nominee, Defendant, A.I.M.

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Controls, LLC. In particular, the United States is entitled to have 3916 Anderson Road, Houston,

Texas 77053 sold in a judicial sale, or by a Receiver appointed for that purpose, free and clear of

all the rights, titles, claims, liens, and interests of the parties, including, any rights of redemption,

with the proceeds to be distributed in accordance with the law as determined by this Court.

                                  COUNT 6
   ENFORCE FEDERAL TAX LIENS AGAINST 3920 ANDERSON ROAD, Houston, Texas 77053

        49.     The United States incorporates by reference paragraphs 37 through 40 above as if

set forth fully in this Count.

        50.     The second piece of real property against which the United States seeks to enforce

its federal tax liens is located at 3920 Anderson Road, Houston, Texas 77053, and consists of

20,351 square feet of land, along with all the improvements, buildings, and appurtenances thereon,

with the legal description TR 5A-1, GARDEN PLACE TO ALMEDA (“3920 Anderson”). 3920

Anderson is more fully described in the County Deed Records as:

        BEING 0.4666 acre (20,326 sq. ft.), out of the certain 2.2951 acres tract of land,
        and being out of the south part of an 87.33 acre tract of land in Harris County, Texas
        and being part of Garden Place Addition to Almeda, Texas, according to the plat as
        recorded in Volume 78, Page 628, of the Deed records of Harris County, Texas,
        and also being out of that certain 87.83 acre tract of land conveyed to J.E. Price by
        instrument dated the 16th day of November, 1937, and recorded in Volume 1067,
        Page 584 of the Deed Records of Harris County, Texas, and instrument dated the
        4th day of August, 1944, and recorded in Volume 1338, Page 29 of the Deed
        Records of Harris County, Texas, more particularly described as follows: (Bearings
        based on Volume 96, Page 46, H.C.M.R.)

        COMMENCING at the northwest corner of the intersection of Bathurst Drive and
        Anderson Road, being located North 89° 58’ 25” West a distance of 178.49 feet
        from the southeast corner of the above 87.33 acre tract of land;

        THENCE, North 89° 58’ 25” West, along the north right of way line of Anderson
        Road a distance of 275.00 feet to a ½ inch iron rod found marking the POINT OF
        BEGINNING of the herein described tract of land;

        THENCE, North 89° 58’ 25” West, continuing along the north line of Anderson
        Road, a distance of 186.00 feet to a ½ inch iron road set for the southwest corner

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        of the herein described tract of land;

        THENCE, North, a distance of 109.24 feet to a ½ inch iron rod set for the northwest
        corner of the herein described tract on the south line of Wildheather Addition,
        Section 2, according to the map or plat thereof recorded in Volume 96, Page 46,
        H.C.M.R.

        THENCE, East, a distance of 186.00 feet along the south line of said Wildheather
        Addition, Sec. 2 to a ½ inch iron rod found for the northeast corner of the herein
        described tract;

        THENCE, South, along the west line of C.C.F.N. X356489 a distance of 109.32
        feet to the POINT OF BEGINNING and containing 20,326 square feet or 0.4666
        acre of land more or less.

        Subject to: All covenants, conditions, easements and restrictions of record.

        Deed Reference: Being the property conveyed to A.I.M. Controls, LLC, by
        warranty deed of Shelia Renay Viser Land, individually and as Independent
        Executrix of the Estate of Era Land, Jr., Deceased, dated November 30, 2015, and
        recorded with the Harris County Clerk as document number by correction warranty
        deed of Royce Mitchell, TR, and Susan Mitchell, TR, dated June 15, 2017, and
        recorded with the Harris County Clerk at file number 20150540522 and film code
        ER076711815, on December 1, 2015.

        51.      The Mitchells, through their Alter Ego and Nominee, Defendant, A.I.M. Controls,

LLC, purchased 3920 Anderson Road, Houston, Texas 77053 by Warranty Deed dated November

30, 2015, shortly after the Internal Revenue Service made most of the income tax assessments at

issue in this suit.

        52.      3920 Anderson Road, Houston Texas 77053 is another piece of real property that

the Mitchells diverted to their Alter Ego Entity, Defendant, A.I.M. Controls, LLC, in an attempt

to shield it from collection by their creditors. The United States is entitled to enforce its federal tax

liens against property held by the Mitchells’ Alter Ego Entity—Defendant, A.I.M. Controls,

LLC,—to satisfy the tax liabilities at issue in this suit.

        53.      Additionally, the United States is entitled to collect liabilities of a taxpayer against

property held in the name of such taxpayers’ Nominee. See, e.g., Oxford Cap. Corp. v. United

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States, 211 F.3d 280, 284 (5th Cir. 2000). Though 3920 Anderson Road, Houston, Texas 77053 is

titled in the name of A.I.M. Controls, LLC, the Mitchells are the true owners, and A.I.M. Controls,

LLC merely holds 3920 Anderson Road, Houston, Texas 77053 as the Mitchells’ Nominee.

       54.     Many of the factors referenced above (in paragraph 46) indicating a Nominee

situation are present with respect to 3920 Anderson Road, Houston, Texas 77053.

       55.     The Mitchells purchased 3920 Anderson Road, Houston Texas 77053 through their

Alter Ego Entity, Defendant A.I.M. Controls, LLC, for their own personal benefit and enjoyment.

Accordingly, Defendant A.I.M. Controls, LLC, did not pay consideration for effectively acquiring

3920 Anderson Road, Houston, Texas 77053 from the Mitchells. Rather than directly acquiring

3920 Anderson Rad, Houston, Texas 77053, the Mitchells purchased 3920 Anderson Road,

Houston, Texas 77053 through their Alter Ego Entity, Defendant, A.I.M. Controls, LLC, to shield

it from collection by the Mitchells’ creditors, including, the Internal Revenue Service, which had

shortly beforehand assessed—and began collection proceedings for—most of the tax liabilities at

issue in this suit. The Mitchells and Defendant, A.I.M. Controls, LLC are closely related in that

the Mitchells established and are “Managing Directors” of the Trusts that own A.I.M. Controls,

LLC. Finally, the Mitchells have retained possession and continued enjoyment of 3920 Anderson

Road, Houston, Texas 77053 by continually—as discussed above—exercising authority over

A.I.M. Controls, LLC.

       56.     Pursuant to 26 U.S.C. § 7403, the United States is entitled to enforce, by foreclosure

sale or other court orders, the federal tax liens described above against 3920 Anderson Road,

Houston, Texas 77053, held by the Mitchells’ Alter Ego and Nominee, Defendant A.I.M. Controls,

LLC. In particular, the United States is entitled to have 3920 Anderson Road, Houston, Texas

77053 sold in a judicial sale, or by a Receiver appointed for that purpose, free and clear of all the



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rights, titles, claims, liens, and interests of the parties, including, any rights of redemption, with

the proceeds to be distributed in accordance with the law as determined by this Court.

                                             PRAYER

       For the reasons described above, the United States of America prays for a judgment:

A.     Determining that Defendant, Royce E. Mitchell, is liable and indebted to the United States

       for his income tax liabilities arising out of tax years 2001, 2003, 2004, 2005, and 2006, in

       the aggregate amount of $285,353.60 as of February 15, 2024, plus statutory additions and

       prejudgment and post judgment interest at the rates set forth in 26 U.S.C. §§ 6601 and

       6621, and 28 U.S.C. § 1961(c), until paid;

B.     Determining that Defendant, Susan A. Mitchell, is liable and indebted to the United States

       for her income tax liabilities arising out of tax years 2003, 2004, 2005, and 2006, in the

       aggregate amount of $221,439.84 as of February 15, 2024, plus statutory additions and

       prejudgment and post judgment interest at the rates set forth in 26 U.S.C. §§ 6601 and

       6621, and 28 U.S.C. § 1961(c), until paid;

C.     Determining that Defendants, Royce E. Mitchell and Susan A. Mitchell, are jointly and

       severally liable to the United States for their joint income tax liabilities arising out of tax

       years 2007, 2008, and 2009, in the aggregate amount of $125,541.16 as of February 15,

       2024, plus statutory additions and prejudgment and post judgment interest at the rates set

       forth in 26 U.S.C. §§ 6601 and 6621, and 28 U.S.C. § 1961(c), until paid;

D.     Determining that A.I.M. Controls, LLC is an Alter Ego of Defendants, Royce E. Mitchell

       and Susan A. Mitchell, and that the Mitchells are the true owners of the property held by

       A.I.M. Controls, LLC;




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E.    Determining that A.I.M. Controls, LLC, holds 3916 Anderson Road, Houston, Texas

      77053 and 3920 Anderson Road, Houston, Texas 77053 as a Nominee for Defendants,

      Royce E. Mitchell and Susan A. Mitchell, and that Defendants, Royce E. Mitchell and

      Susan A. Mitchell, are the true owners of 3916 Anderson Road, Houston, Texas 77053 and

      3920 Anderson Road, Houston, Texas 77053;

F.    Ordering that the federal tax liens securing payment of the tax liabilities described in this

      Complaint may be foreclosed or enforced by other court orders against 3916 Anderson

      Road, Houston, Texas 77053 by sale of 3916 Anderson Road, Houston, Texas 77053 in a

      judicial sale, or by a Receiver appointed for that purpose, free and clear of all the rights,

      titles, claims, liens, and interests of the parties, including, any rights of redemption, with

      the proceeds of the sale distributed in accordance with the law as determined by this Court;

G.    Ordering that the federal tax liens securing payment of the tax liabilities described in this

      Complaint may be foreclosed or enforced by other court orders against 3920 Anderson

      Road, Houston, Texas 77053 by sale of 3920 Anderson Road, Houston, Texas 77053 in a

      judicial sale, or by a Receiver appointed for that purpose, free and clear of all the rights,

      titles, claims, liens, and interests of the parties, including, any rights of redemption, with

      the proceeds of the sale distributed in accordance with the law as determined by this Court;

      and

H.    Awarding the United States such other and further relief as this Court deems just and

      proper, including, its costs incurred in this action and for any surcharge authorized by 28

      U.S.C. § 3011.




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                                   Respectfully submitted,

Dated: February 23, 2024.          DAVID A. HUBBERT
                                   Deputy Assistant Attorney General

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